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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

SPENCER MEYER, individually and on behalf of
those similarly situated,
                                                        1:15 Civ. 9796 (JSR)
                       Plaintiffs,
       -against-                                        ECF Case

TRAVIS KALANICK and UBER
TECHNOLOGIES, INC.
                       Defendants.

             DECLARATION OF JAMES H. SMITH IN SUPPORT OF
           PLAINTIFF’S MEMORANDUM OF LAW IN SUPPORT OF HIS
         MOTION FOR RELIEF RELATED TO THE ERGO INVESTIGATION


CONSTANTINE CANNON LLP                     MCKOOL SMITH, P.C.
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                             Counsel for Plaintiff Spencer Meyer




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James H. Smith, pursuant to 28 U.S.C. § 1746, declare under penalty of perjury as follows:

          1.       I am an attorney at McKool Smith, P.C., representing Plaintiff Spencer Meyer

(“Plaintff”) in the above-captioned case, and I make this declaration in support of Plaintiff’s

Memorandum of Law in in Support of Motion for Relief Related to the Ergo Investigation.

          2.       I am over eighteen years of age and have personal knowledge of the matters stated

herein.

          3.       Attached to this declaration as Exhibit A is a true and correct copy of a document

produced by Uber Technologies, Inc. (“Uber”) at UBER-PRIV0000001- UBER-PRIV0000021.

Uber has designated this document “Confidential” under the Protective Order entered on June 16,

2016 (“Protective Order”).

          4.       Attached to this declaration as Exhibit B is a true and correct copy of excerpts

from the transcript of the June 23, 2016 deposition of Joseph Sullivan. Uber has designated this

document “Confidential” under the Protective Order.

          5.       Attached to this declaration as Exhibit C is a true and correct copy of excerpts

from the transcript of the June 22, 2016 deposition of Mathew Henley. Uber has designated this

document “Confidential” under the Protective Order.

          6.       Attached to this declaration as Exhibit D is a true and correct copy of excerpts

from the transcript of the June 23, 2016 deposition of Craig Clark. Uber has designated this

document “Confidential” under the Protective Order.

          7.       Attached to this declaration as Exhibit E is a true and correct copy of a document

produced by Global Precision Research LLC d/b/a Ergo (“Ergo”) at ERGO-0001169-ERGO-

0001193. Ergo has designated this document “Confidential” under the Protective Order.




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       8.       Attached to this declaration as Exhibit F is a true and correct copy of excerpts from

the transcript of the June 15, 2016 deposition of Todd Egeland.           Ergo has designated this

document “Confidential” under the Protective Order.

       9.       Attached to this declaration as Exhibit G is a true and correct copy of a document

produced by Uber at UBER-PRIV0000055. Uber has designated this document “Confidential”

under the Protective Order.

       10.      Attached to this declaration as Exhibit H is a true and correct copy of a document

produced by Ergo at ERGO-0000396-ERGO-0000418.                Ergo has designated this document

“Confidential” under the Protective Order.

       11.      Attached to this declaration as Exhibit I is a true and correct copy of a document

produced by Ergo at ERGO-0000467-ERGO-0000468.                Ergo has designated this document

“Confidential” under the Protective Order.

       12.      Attached to this declaration as Exhibit J is a true and correct copy of a document

produced by Ergo at ERGO-0000626. Ergo has designated this document “Confidential” under

the Protective Order.

       13.      Attached to this declaration as Exhibit K is a true and correct copy of excerpts

from the transcript of the June 14, 2016 deposition of Miguel Santos-Neves. Ergo has designated

this document “Confidential” under the Protective Order.

       14.      Attached to this declaration as Exhibit L is a true and correct copy of a document

produced by Ergo at ERGO-0001039. Ergo has designated this document “Confidential” under

the Protective Order.




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       15.     Attached to this declaration as Exhibit M is a true and correct copy of a document

produced by Ergo at ERGO-0000443. Ergo has designated this document “Confidential” under

the Protective Order.

       16.     Attached to this declaration as Exhibit N is a true and correct copy of a document

produced by Ergo at ERGO-0000697-ERGO-0000717.               Ergo has designated this document

“Confidential” under the Protective Order.

       17.     Attached to this declaration as Exhibit O is a true and correct copy of a document

produced by Ergo at ERGO-000665-ERGO-0000667.                Ergo has designated this document

“Confidential” under the Protective Order.

       18.     Attached to this declaration as Exhibit P is a true and correct copy of excerpts of a

document produced by Ergo at ERGO-0000668-ERGO-0000684.                  Ergo has designated this

document “Confidential” under the Protective Order.

       19.     Attached to this declaration as Exhibit Q is a true and correct copy of a document

produced by Ergo at ERGO-0000689-ERGO-0000696.               Ergo has designated this document

“Confidential” under the Protective Order.

       20.     Attached to this declaration as Exhibit R is a true and correct copy of excerpts of a

document produced by Ergo at ERGO-0000821-ERGO-0000836.                  Ergo has designated this

document “Confidential” under the Protective Order.

       21.     Attached to this declaration as Exhibit S is a true and correct copy of a letter from

Peter Skinner to Brian Feldman, dated March 29, 2016.

       22.     Attached to this declaration as Exhibit T is a true and correct copy of letter from

Peter Skinner to Brian Feldman, dated April 25, 2016.




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       23.    Attached to this declaration as Exhibit U is a true and correct copy of a letter from

Alanna Rutherford to Brian Feldman, dated May 18, 2016.

       24.    Attached to this declaration as Exhibit V is a true and correct copy of an e-mail

from Nicola Hanna to Plaintiffs counsel, dated May 25, 2016.

       25.    Attached to this declaration as Exhibit W is a true and correct copy of a letter from

Brian Feldman to Peter Skinner, dated March 23, 2016.

       26.    Attached to this declaration as Exhibit X is a true and correct copy of a letter from

Brian Feldman to Peter Skinner, dated May 10, 2016.

       27.    Attached to this declaration as Exhibit Y is a true and correct copy of a letter from

Peter Skinner to Brian Feldman, dated May 11, 2016.

       28.    Attached to this declaration as Exhibit Z is a true and correct copy of a letter from

Brian Feldman to Peter Skinner, dated May 13, 2016.

       29.    Attached to this declaration as Exhibit AA is a true and correct copy of a letter

from Peter Skinner to Brian Feldman, dated May 16, 2016.




       I declare under penalty of perjury that the foregoing is true and correct.

Executed on: June 29, 2016




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